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lN THE UNITED STATES DISTRICT COURT "" ' '
FoR 'IHE WESTERN DISTRICT oF TENNESSEE 05 _
WESTERN DIVISION AUG 26 PH 5` 00

 

 

UNITED STATES OF AMERICA
Plaintiff,

VS CR. NO. 04-20283-1’¢11

MARIO ALBERT BARAHONA

Defendant(s)

 

ORDER ON CONTIN`UANCE AND SPECIFYING PERIOD OF EXCLUDABLE DEL.AY

 

This cause was set for a Report Date on Friday, August 26, 2005 at
9:00 a.m. Counsel for the defendant requested a continuance of the
present setting. The continuance is necessary to allow for additional
preparation in the case.

The Court granted the request and continued the matter for a Report
Date to Friday, October 28, 2005 at 9:00 a.m. with a trial date of
Monday, November 7, 2005.

The period from September 16, 2005 through November 18, 2005 is
excludable under lB U.S.C. § 3161(h)(8)(B)(iv) to allow defense counsel
additional time to prepare.

IT IS SO ORDERED this the §§ day of August, 2005.

Qm(w.

JO PHIPPS MCCALLA
ITED STATES DISTRICT JUDGE

 

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with mae 55 ama/or 32(5) mch on ’ 'O

   

UNITED sTATE DRISTIC COURT - WETERN D'S'TRCT OFTENNESSEE

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This notice confirms a copy of the document docketed as number 25 in
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Honorable Jon McCalla
US DISTRICT COURT

